Case 1:19-cv-10203-IT Document 181-11 Filed 10/28/22 Page 1 of 4




                EXHIBIT K
       Case 1:19-cv-10203-IT Document 181-11 Filed 10/28/22 Page 2 of 4
                                                               LarsonP3001252



From:                   Sari Boren
Sent:                   Sunday, January 24, 2016 12:28:52 PM
To:                     Sonya Larson
Subject:                Re: Kidney Story
Attachments:            smime.p7s


Yeah this story is fantastic.

First off - I LOVE the title (which makes me optimistic about you helping me retitle my essay!)

So many things I love about this story - not sure where to start

- The narrator’s voice - she’s so crabby and difficult and yet we completely sympathize with her
- that’s very tricky to pull off and you’ve done it
- Love how you don’t waste words yet the story is rich with details. I can see her sad apartment.
ugh. Also Bao being so joyful he was enraged. That’s brilliant.
- The way you reveal to the reader very slowly that the narrator has a drinking problem, and then
dribble out the information that she needed the kidney because of a drunk driving accident - and
you never tell us this overtly!! SO MASTERFUL. Like the missing car. The narrator mentions
the missing car and how her husband now bikes and at first I thought - oh maybe the had to sell
the car for medical bills. BUT NO! And I like how you do that. And it’s not an authorial trick,
you’re not withholding for the sake of withholding, it’s that the narrator doesn’t really want to
face her culpability in her near death, and so she won’t think about it directly. She knows all the
information, obviously, but in a way, in her own mind she refuses to look at it directly, to take
responsibility. So therefore the readers can’t see it. If you had a different kind of narrator, one
who wasn’t an alcoholic, who didn’t cause her own accident, then the withholding would be a
bad authorial trick. But here it’s not.
- How we know sooner than Rose does that the narrator is not the “perfect” recipient Rose had
hoped for. I really love this part of the story - how the narrator’s near death situation is her own
fault. Completely. Like it’s not even a gray area.

Another element altogether:
- The narrator and her husband are not white people, but the story is not about race. sure, the
narrator thinks about Rose as that =E2��white” girl (although her name sounds maybe Latina?).
Jesus. I realized how rare that is. It’s like your story has race-blind casting except that
race/ethnicity matters to the characters as people, but not to the story. That grandmah chair is
such a great element in the story.
In other reading situations I feel that I am primed as a reader that if the main characters are POC
then the story will somehow hinge on that. But this story doesn’t. The couple’s race/culture is
used in the same way it would be in a story about white people—as details about them as
individuals, not representing some markers or distinguishing cultural characteristics of their
race/culture—ESPECIALLY shown in contrast to white people/culture.
You’re making a point here, as a writer.

Regarding Dawn -
       Case 1:19-cv-10203-IT Document 181-11 Filed 10/28/22 Page 3 of 4
                                                               LarsonP3001253



I don’t know what to tell you about the letter. I think the key give-away is her coming from an
abusive background and I see how that’s important to understand the character of Rose. Huh. I’m
no help with that. If you also don’t want to make it so obvious that it’s about Dawn, maybe you
shouldn’t make Rose’s character name alliterative, like Dawn’s? That’s kind of funny. But do
you need to?
Finally - I think the character of Rose is more sympathetic than Chuntao. When I realized (and
maybe Rose never really does) that Chuntao damaged her kidney (or both! she would need a
transplant only if she damaged both) in a drunk driving accident, I felt sorry for Rose. She is
pathetic. But you feel sympathy for her. Poor Rose. sigh. But also Rose is so kind and polite with
the gift “wrapped” in Gladware. Holy shit. That’s some passive-aggressive behavior on
Chuntao’s part. Putting the gifts in a leftover container; like - obviously NOTHING i can give
you can balance out you giving me a kidney, so I’m going to give you something lame and wrap
it like used food.

One technical comment:
On page 2, post-surgery, everyone gathers around and toasts champagne over her bed with the
surgeon, and then she’s wheeled off to Recovery.
However - my understanding is that when you have surgery, you are taken from the operating
room to Recovery, which is often a large room with multiple patients in multiple beds separated
by curtains. That’s where they keep you until you wake up. And maybe a couple of people can
visit you there but not a lot because other patients are there too. And then when you have reached
some point of consciousness or stabilization, they wheel you back to a regular hospital room. So
I don’t think her family would be with her in such a large and boisterous group in Recovery and
they wouldn�=99t be with her in the operating room, for sure. You may want to check this with
someone you know who works in a hospital or has had surgeries. But if I’m right, all you have to
do is have them be in her hospital room after she’s brought from Recovery, and then have Bao
get sent out of the room at night after everyone else leaves.

Very excited for you, Sonya!!!

Also - regarding my essay. I was reading it aloud in anticipation of a reading at residency
tonight. (I can’t decide whether to read the first 7 pages of the slurry wall essay or to read the
GM essay - THOUGHTS?.) And reading it aloud I was worried it’s too front-loaded with content
vs. personal story. I’m trying to make sure there are bread crumbs pulling the reader through. So
I took the paragraph around pg 9 that starts “My father’s cowboy hat” and I add it to the end of
the section where I first talk about the photo of my dad at the Western Wall. I just put all of that
dad-at-the- western wall story in one place. I did that mostly because the moved paragraph ends
with “. . . and he, standing before it, having survived longer than expected as well.” At this point
in the essay (once I move this paragraph) I haven’t explicitly said my dad is a survivor, so I think
that last line creates a question in the reader’s mind (what did he need to survive?) that works as
a bread crumb leading the reader forward. What do you think?

xoxoxo
sari

www.sariboren.com
     Case 1:19-cv-10203-IT Document 181-11 Filed 10/28/22 Page 4 of 4
                                                             LarsonP3001254




    On Jan 23, 2016, at 11:31 AM, Sonya Larson <larsonya@gmail.com> wrote:

    I love you!!
    <The Kindest, 1.19.16.docx>


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